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             EXHIBIT E
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                   IN THE UNITED STATES PATENT AND TRADEMARK OFFICE
                     BEFORE THE TRADEMARK TRIAL AND APPEAL BOARD


       SUCESIÓN SIMON DIAZ MARQUEZ,                           Opposition No.: 91282101
           Opposer,                                           Application Serial No.: 97/030,729
                                                              Mark: TIO SIMON
       v.                                                     Publication Date: August 2, 2022

       MIAMI FINE FOODS, LLC,
          Applicant.



                      APPLICANT’S FIRST REQUEST FOR ADMISSIONS

              Pursuant to Rules 26 and 36, Fed.R.Civ.P., and 37 C.F.R. § 2.120, Miami Fine

    Foods, LLC (“Applicant”),by and through undersigned counsel, hereby requests that

    Opposer Sucesión Simon Diaz Marquez (“Opposer”) admit, within thirty (30) days of service

    of this Request for Admissions (hereinafter, the “Requests”), the truth of the matters that

    follow.

                                   DEFINITIONS AND INSTRUCTIONS

      As used herein:
              A.     “You,” “Your,” “Opposer,” the “Estate,” or “Sucesión Simon Diaz
      Marquez” refers to Opposer Sucesión Simon Diaz Marquez, including all predecessors,
      successors, officers, directors, employees, agents, representatives, and all other persons
      acting or purporting to act on its behalf.
              B.     The “Opposer’s Trademark” refers to the trademark TIO SIMON, as
      identified in U.S. Trademark Application Serial No. 97/296,359.

              C.     The “Opposer’s Application” refers to U.S. Trademark Application Serial
      No. 97/296,359.

              D.     The “Applicant’s Trademark” refers to trademark TIO SIMON, as
      identified in U.S. Trademark Application Serial No. 97/030,729.


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             E.      The “Applicant’s Application” refers to U.S. Trademark Application Serial
      97/030,729.

             F.      “Documents” means, but without limitation: every writing or record of
      every type and description including those existing in all manner of memory means or
      devices used in connection with electronic computers or word processors that is or has been
      in the possession, control or custody, or of which you have knowledge, including without
      limitation: papers, contracts, correspondence, memoranda, tapes, communications,
      invoices, accounts, stenographic or handwritten notes, studies, publications, books,
      pamphlets, pictures, photographs, films, videotapes, sound or voice recordings, maps,
      reports, surveys, minutes, graphs, statistical compilations, charts, calculations, projections,
      plans, data processing cards, tapes or disks or computer records or printouts; every copy of
      every such writing or record where the original is not in your possession, custody or
      control; and every copy of every such writing or record where such copy is not an identical
      copy of the original or where such copy contains any commentary or notation whatsoever
      that does not appear on the original.
             G.      “Communication” includes, without limitation, communications by
      whatever means transmitted (i.e. whether oral, written, electronic, or other), as well as any
      note, memorandum or other record thereof.
             H.      “Entity”    means     any    individual,   firm,   partnership,    corporation,
      proprietorship, association, governmental body or any other organization or entity.
             I.      “Date” means the exact day, month and year if ascertainable or, if not, the
      best available approximation (including relationship to other events).
             J.      “Relate” or any permutation thereof, means that which is, constitutes,
      comprises, discloses, reflects, describes, discusses, concerns, supports, contradicts, or in
      any other manner touches on.
             K.      As used herein, unless otherwise indicated, the single shall always include
      the plural, and the present tense shall always include the past tense, and vice versa.
             L.      A masculine, feminine, or neutral pronoun shall not exclude the other
      genders.

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                                   REQUESTS FOR ADMISSION

       REQUEST NO. 1:               Admit that you do not have any documents in your custody, control
      or possession that any consumer believes that Opposer was the source of any goods or services
      offered for sale or sold by Applicant.

      REQUEST NO. 2:               Admit that Opposer’s Trademark is primarily associated with
      music.

      REQUEST NO. 3:                Admit that Applicant’s use of Applicant’s Trademark has not
      caused you to lose any sales of services offered under Opposer’s Trademark.

      REQUEST NO. 4:                 Admit that that you do not have any documents in your custody,
      control or possession that Applicant’s use of Applicant’s Trademark has caused you to lose
      any sales of services offered under Opposer’s Trademark.

      REQUEST NO. 5:                Admit that Applicant’s use of Applicant’s Trademark has not
      caused you suffer any injury.

      REQUEST NO. 6:                Admit that you do not have any documents in your custody,
      control or possession that Applicant’s use of Applicant’s Trademark has caused you to suffer
      any injury.

      REQUEST NO. 7:               Admit that you are aware of third-party use of the term TIO in
      connection with food products.

      REQUEST NO. 8:               Admit that you are aware of third-party use of the term SIMON
      in connection with food products.

      REQUEST NO. 9:             Admit that you have no evidence of incidents of actual confusion
      between Opposer and Applicant.




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      Date: August 28, 2023                               Respectfully submitted,

                                                          FRIEDLAND VINING, P.A.

                                                          /s/Jaime Rich Vining___________

                                                          David K. Friedland
                                                          Jaime Rich Vining
                                                          9100 S. Dadeland Blvd., Suite 1620
                                                          Miami, FL 33156
                                                          (305) 777-1720

                                                          Attorneys for Applicant



                                     CERTIFICATE OF SERVICE

             WE HEREBY CERTIFY that the foregoing FIRST REQUEST FOR ADMISSIONS
      was served upon Opposer by delivering true and correct copies of same to counsel for Opposer via
      email on August 28, 2023 as follows:

      Ben Natter, Esq.
      Haug Partners, LLP
      745 Fifth Ave.
      New York, NY 10151
      e-mail: bnatter@haugpartners.com, mbarer@haugpartners.com, docket@haugpartners.com,
      ttab@haugpartners.com


                                                          s/Jaime Rich Vining/
                                                          Jaime Rich Vining




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